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~AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations #1703
             Sheet I

                                                                                                                    FILED
                                  UNITED STATES DISTRICT COURT
                                                     Southern District of Illinois                                  OCT 13 2010
                                                                                                        S CLERK, U.S. DISTRICT COURT
        UNITED STATES OF AMERICA                                    Judgment in a Criminal Case OUTHE:~ DISTRICT OF ILUNOIS
                   v.                                               (For Revocation of Probation or Supervised Relea~rON OFFICE
                Michael E. McDonald

                                                                    Case No. 4:03CR40021-001-JPG
                                                                    USM No. 05884-025
                                                                      Melissa A. Day, AFPD
                                                                                             Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)      as alleged below                  of the tenn of supervision.
o was found in violation of condition(s)           _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                         Violation Ended
Statutory                      The defendant tested positive for cocaine                                 09/02/2010



Standard # 3                  The defendant failed to provide truthful information to                    09/02/2010



       The defendant is sentenced as provided in pages 2 through _ _4.:...-_ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes ill
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 0753                  10108/2010

Defendant's Year of Birth:        1048

City and State of Defendant's Residence:
Metropolis, IL
                                                                                                                   District Judge



                                                                      42".td£d.. / ,15.
                                                                                            Name and Title of Judge

                                                                                                             2..;/ 0
                                                                                                     Date
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  AO 245D       (Rev. 12/07) Judgment in a Criminal Case for Revocations #1704
                Sheet 2- Imprisonment
                                                                                               Judgment - Page   _.;;;;2_ of      4
  DEFENDANT: Michael E. McDonald
  CASE NUMBER: 4:03CR40021-001-JPG


                                                             IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
12 months




       rI The court makes the following recommendations to the Bureau of Prisons:
That the defendant take the 40 hours Rehabiliation Program



       rI The defendant is remanded to the custody of the United States Marshal.
       o The defendant shall surrender to the United States Marshal for this district:
         o at _ _ _ _ _ _ _ _ _ 0 a.m. 0 p.m. on
         o as notified by the United States Marshal.
       o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o before 2 p.m. on
         o as notified by the United States Marshal.
            D     as notified by the Probation or Pretrial Services Office.

                                                                   RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                  to

  at    _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL

                                                                          By _____________________________________
                                                                                         DEPUTY UNITED STATES MARSHAL
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  AD 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
                                                                       #1705
              Sheet 3 - Supervised Release

                                                                                                     Judgment-Page     3     of _ _ _
                                                                                                                                    4 __
  DEFENDANT: Michael E. McDonald
  CASE NUMBER: 4:03CR40021-001-JPG
                                                        SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of:
12 months



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
  tests thereafter as determined by the court.
  o     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 'i/ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
 rI The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  o     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  o     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fme or restitution, it is be a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
            five days of each month;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted perrrussion to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permission of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notification requirement.
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 AO 245D    (Rev. 12/07) Judgment in a Criminal Case for Revocations #1706
            Sheet 3C - Supervised Release

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 DEFENDANT: Michael E. McDonald
 CASE NUMBER: 4:03CR40021-001-JPG

                                            SPECIAL CONDITIONS OF SUPERVISION

Once the defendant is released from BOP, the defendant shall be placed in the PARTS programs, sponsored by the VA in
Lexington, KY.

 Based on the defendant's history of substance abuse, the Court is exercising it's discretion and ordering that the
defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
residence and/ or participation in a residential treatment facility. The number of tests shall not exceed 52 tests in a one
year period. Any participation will require complete abstinence from all alcoholic beverages. The defendant shall pay for
the costs associated with substance abuse counseling and/or testing based on a copay sliding fee scale approved by the
United States Probation Office. Copay shall never exceed the total costs of counseling.
